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                         IN THE UNITED STATES DISTRICT COURT
                                       FOR THE
                           NORTHERN DISTRICT OF CALIFORNIA

MDL No. 3047 - IN RE: SOCIAL MEDIA ADOLESCENT ADDICTION/PERSONAL
               INJURY PRODUCTS LIABILITY LITIGATION
                             CONSENT OF TRANSFEREE COURT

        The United States District Court for the Northern District of California hereby consents to

the assignment of the actions involved in the above-described litigation to the Honorable Yvonne

Gonzalez Rogers for coordinated or consolidated pretrial proceedings pursuant to 28 U.S.C. ' 1407.

        In the event that reassignment of this litigation to another judge becomes necessary, such

reassignment shall take place in accordance with Section 1407(b) and Panel Rule 2.1(e).




                                             __________________________________
                                                      Chief Judge

Date: _________________
         10/03/2022




PLEASE FAX OR EMAIL THE SIGNED FORM TO:


 Mr. John W. Nichols, Clerk of the Panel, Judicial Panel on Multidistrict Litigation @ fax number
 202-502-2888 or email address MDLPanelOrders@JPML.USCOURTS.GOV.

THIS ASSIGNMENT IS CONFIDENTIAL UNTIL THE ORDER OF TRANSFER IS FILED
BY THE PANEL.

SHOULD REASSIGNMENT BECOME NECESSARY, PLEASE CONTACT THE PANEL
EXECUTIVE, Thomasenia P. Duncan, at 202-502-2800.
